Case 1:25-cr-00191-LMM-RDC        Document 20      Filed 05/01/25   Page 1 of 21




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 UNITED STATES OF AMERICA

 v.                                             CRIMINAL ACTION FILE NO.

 ALIAKBAR MOHAMMAD AMIN,                        1:25-cr-00191-LMM-RDC

                                                [Eff. 03/01/2023]
       Defendant.

                        PRETRIAL SCHEDULING ORDER

 I.      A pretrial conference shall be held in this criminal action on May 19, 2025

 at 10:30 a.m., before the undersigned Magistrate Judge. The pretrial conference

 will be conducted by telephone. The Court will send instructions to all parties via

 email prior to the pretrial conference. Counsel who will actually handle the trial of

 the case must be present. The defendant need not be present. LCrR 17.1, NDGa.

 Pretrial motions shall be due on or before May 15, 2025.

         Please note that it shall be the responsibility of Defendant’s counsel to notify

 the office of the undersigned and counsel for the Government if no pretrial motions

 shall be filed and/or no pretrial conference is required.

 II.     Prior to the above-scheduled conference, the following shall occur:

         A.    The parties shall confer regarding the probable disposition of the case,
Case 1:25-cr-00191-LMM-RDC      Document 20     Filed 05/01/25   Page 2 of 21




 resolution of issues related to discovery production and the mechanics thereof,

 including the timing and procedures for pretrial disclosures, see FED. R. CRIM.

 P. 16.11; see also infra Part V.D.1; scheduling problems; anticipated pretrial and

 trial motions; and possible stipulations of law and fact. LCrR 12.1D, NDGa.

       B.     Upon the defendant’s request, the government shall permit the

 defendant to inspect and copy discoverable matter, including but not limited to,

 all Rule 16 materials, all search warrants and affidavits, consent forms for any

 searches that the defendant arguably has standing to challenge, Miranda rights and

 waiver of Miranda rights forms, and photographs from which identification of the

 defendant was made.        If the government has discoverable materials not

 immediately available, it shall advise the defendant of the existence and nature of




       1
              The Joint Electronic Technology Working Group has developed an
 “ESI Discovery Production Checklist” identifying topics that may help guide
 counsel’s discussion of issues relating to the production of electronically stored
 information. See Recommendations for Electronically Stored Information (ESI)
 Discovery Production in Federal Criminal Cases (the “Recommendations”),
 available at https://www.justice.gov/archives/dag/page/file/913236/download.
 The Court refers counsel to this checklist for informational purposes only. Neither
 the checklist nor the Recommendations alter the parties’ discovery obligations or
 protections under the U.S. Constitution, the Federal Rules of Criminal Procedure,
 the Jencks Act, or other federal statutes, case law, the Local Rules, or this order.
 Nor do they create any rights or privileges for any party or provide a basis for
 allegations of misconduct or claims for relief.
                                        2
Case 1:25-cr-00191-LMM-RDC        Document 20      Filed 05/01/25   Page 3 of 21




 the items and the timeline for their receipt and inspection. LCrR 16.1, NDGa. The

 timing of expert disclosures is set forth in part IV.L., infra.

       In accordance with Rule 12(b)(4), the government shall enumerate and

 describe with particularity the existence and nature of all items seized during any

 search that the defendant arguably has standing to challenge, including specifying

 where such items were seized during said search. 2 FED. R. CRIM. P. 12(b)(4).

 Where reciprocal discovery is requested by the government, the attorney for the

 defendant shall personally advise the defendant of the request, the defendant’s

 obligations thereto, and the possibility of sanctions, including exclusion of any such

 evidence from trial, for failure to comply with the Rule. See FED. R. CRIM. P. 16(b)

 and (d); LCrR 16.1, NDGa.

       C.     A party desiring to inspect and copy any materials which were not

 available initially shall be permitted to do so in accordance with the Local Rules.

 LCrR 16.1, NDGa.

       D.     All discovery of materials known by the parties or their agents to exist

 shall be completed within the times contemplated by this order unless a modifying


       2
               At arraignment, the government is required to provide the defendant
 with an inventory of all items seized from the defendant by law enforcement
 officials that the government expects to introduce at trial. The government SHALL
 furnish the affected defendant with such an inventory. LCrR 16.1, NDGa.
                                         3
Case 1:25-cr-00191-LMM-RDC        Document 20    Filed 05/01/25   Page 4 of 21




 order is entered upon motion made under Rule 16(d) or Local Criminal Rule 16.1.

 The parties shall document, independent of their personal recollection, compliance

 with requests and orders for discovery. At the pretrial conference, the parties shall

 be prepared to discuss with the magistrate judge the results of their Rule 16.1

 conference as provided by this Order. See infra Part V.D.1.

 III.   Filing Pretrial Motions

        The parties are reminded that pretrial disclosure in criminal cases generally

 is governed by Rule 16 of the Federal Rules of Criminal Procedure or pursuant to

 case law, such as Brady v. Maryland, 373 U.S. 83 (1963), and that the government

 ordinarily has no basis upon which to object. The local rules require any party

 seeking relief through a motion to confer with opposing counsel in an attempt to

 resolve disputed matters prior to the filing of motions related thereto. LCrR 12.1.D,

 NDGa. Moreover, Rule 16 directs that the government must produce discoverable

 material upon only a “request” of the defendant. See FED. R. CRIM. P. 16.

        Therefore, counsel are DIRECTED to NOT file any motion for materials

 or information or other relief that: (1) the opposing party has agreed to provide, or

 (2) the party is entitled to inspect and copy under applicable criminal rules and

 case law, UNLESS the attorney certifies to the court in writing that: (1) the

 materials have been requested from the opposing party or the motion for other relief
                                        4
Case 1:25-cr-00191-LMM-RDC        Document 20      Filed 05/01/25    Page 5 of 21




 has been discussed with the counsel for the opposing party, and (2) the opposing

 counsel declines to provide the materials/information/relief requested.       If counsel

 believes it is necessary to document what is requested from, or agreed to by, the

 government, he or she may do so by letter to opposing counsel, without filing or

 copying such letter with the Court. Counsel also may re-label his or her standard

 motions as “Requests” and serve them on opposing counsel, but NOT file them

 with the Clerk’s Office or the Court. Or, counsel may file with the Clerk a

 certification that the defendant had served the government with a discovery

 request, and keep the original discovery request in his or her file, to be filed with the

 Clerk only upon the need to use the request in court, similar to the practice in civil

 cases. See Local Civil Rules 5.4 and 26.3, NDGa. The Court WILL discuss any

 such requests at the pretrial conference. The requests, certificates or letters may

 later be used to support a motion for sanctions or to compel, if the opposing party

 fails to comply with his or her legal obligations or agreements. See FED. R. CRIM.

 P. 16(d)(2).

       If, after consultation and failure to reach an agreement with opposing counsel,

 counsel files a motion for materials or information outside the scope of Rule 16

 and relevant case law, he or she shall do so ONLY by making a particularized

 showing that relates to the facts of this case.
                                          5
Case 1:25-cr-00191-LMM-RDC      Document 20     Filed 05/01/25   Page 6 of 21




 IV.   Standard Rulings

       The following rulings are made in this case and are intended only to obviate

 the need for standard, non-particularized motions on these subjects. Any party

 who disagrees with these standard rulings may file, within the time allowed for

 filing motions under Local Criminal Rule 12.1(B), a particularized motion for

 relief therefrom, including a motion to compel or for a protective order.

       A.     Discovery Materials:

       Upon request of the defendant, the government is directed to provide to the

 defendant all materials and information falling within the scope of Rule 16 and

 Local Criminal Rule 16.1, including but not limited to an inventory of all items

 seized from the defendant by law enforcement officials which the government

 intends to introduce at trial. The government has a continuing duty to disclose any

 evidence that is subject to discovery or inspection. United States v. Jordan,

 316 F.3d 1215, 1249 (11th Cir. 2003); FED. R. CRIM. P. 16(c).

       B.     Discovery and Disclosure of Evidence Arguably Subject to

 Suppression and of Evidence Which is Exculpatory and/or Impeaching:

       Upon request of the defendant, the government is      directed   to   comply

 with Federal Rules of Criminal Procedure 12 and 16, by providing notice as

 specified supra Part II.B.
                                        6
Case 1:25-cr-00191-LMM-RDC       Document 20      Filed 05/01/25    Page 7 of 21




       Pursuant to the Due Process Protections Act, the Court confirms the United

 States’ obligation to disclose to the defendant all exculpatory evidence- that is,

 evidence that favors the defendant or casts doubt on the United States’ case, as

 required by Brady v. Maryland, 373 U.S. 83 (1963) and its progeny, and ORDERS

 the United States to do so. The government has a duty to disclose any evidence

 that goes to negating the defendant’s guilt, the credibility of a witness, or that would

 reduce a potential sentence. The defendant is entitled to this information without a

 request. Failure to disclose exculpatory evidence in a timely manner may result in

 consequences, including, but not limited to, exclusion of evidence, adverse jury

 instructions, dismissal of charges, contempt proceedings, disciplinary action, or

 sanctions by the Court.

       C.     Rule 404(b):

       Pursuant to Rule 404(b), the government is ordered to provide written notice

 of any evidence of other crimes, wrongs, or acts that it intends to offer at trial, so

 that the defendant has a fair opportunity to meet it, and to articulate in the notice

 the permitted purpose for which it intends to offer the evidence and the reasoning

 that supports the purpose. The Rule 404(b) evidence shall be provided to the

 defense as soon as practicable after the government has determined to use such

 evidence, subject to the following deadlines: If the Rule 404(b) evidence
                                          7
Case 1:25-cr-00191-LMM-RDC      Document 20     Filed 05/01/25   Page 8 of 21




 pertains to acts or conduct of the defendant are alleged to have occurred within the

 Northern District of Georgia, the notice required to be provided under this heading

 and the rule shall be provided no later than fourteen days before trial. If the acts

 or conduct are alleged to have occurred outside the Northern District of Georgia,

 the notice required to be provided under this heading and the rule shall be provided

 no later than twenty-one days before trial.

       D.     Preservation of Evidence and Handwritten Notes of Agents:

       The government is directed to preserve all evidence and handwritten notes

 of law enforcement officers pertaining to this case and the defendant.

 Notwithstanding this provision, if the government wishes to destroy contraband

 drug evidence in conformance with the procedures set forth in 28 C.F.R. § 50.21,

 the government must first give each affected defendant notice in writing of the

 intended contraband destruction. Said notice shall not be given earlier than

 fourteen days after the entry of this Order. Any defendant shall have fourteen

 days after the date of the notice to file a written objection to the proposed

 contraband destruction. If no objections are filed and the government otherwise




                                        8
Case 1:25-cr-00191-LMM-RDC       Document 20     Filed 05/01/25   Page 9 of 21




 has complied with any applicable protocol under 28 C.F.R. § 50.21, the government

 may destroy the excess contraband.3

       E.     Examination and Testing of Physical Evidence:

       The defendant shall be allowed to examine and test physical evidence under

 reasonable conditions which maintain the integrity of the evidence.

       F.     Monitored Phone Calls of an In-Custody Defendant and All

 Electronic Recordings of Defendant:

       The government shall disclose to the defendant if it has heard, used, or

 intends to use, any monitored phone calls made by the defendant while he/she was

 in custody, and shall disclose to defendant all electronic monitoring of the

 defendant in accordance with Federal rule of Criminal Procedure 16 and 18 U.S.C.

 § 2500, et seq. (Title III). A defendant is not entitled to the recorded conversations

 of co-defendants or others to which he/she was not a party, unless required to be

 produced by Rule 16, the Jencks Act, or Brady and/or Giglio.

        G. Identification Materials:

       The government shall disclose to the defense the circumstances under which



       3
               The government is reminded that the provisions of this Order apply
 only to parties presently before the Court and not to defendants who have not been
 apprehended or who are subsequently charged in this case.
                                        9
Case 1:25-cr-00191-LMM-RDC        Document 20      Filed 05/01/25   Page 10 of 21




  any photographic or lineup identification of the defendant was made and shall

  provide the defendant with copies of any photographs used to make any

  identification.

        H.       Charts and Summaries:

        The government shall produce any charts or summaries to be used in its

  opening statement or presentation of its case-in-chief at trial no later than three

  business days before trial. The defendant shall produce any charts and summaries

  to be used in his or her opening statement no later than three business days before

  trial. All other charts and summaries shall be produced to the other party at least

  one business day prior to their use. As used in this paragraph, the term “summaries”

  excludes summaries of expert testimony which must be disclosed upon request

  under Rule 16; expert summaries are due to be disclosed as set forth in paragraph

  IV.L. below.

        I.       Jencks Act (18 U.S.C. § 3500):

        The Court has no authority in the typical case to order the government to

  provide Jencks Act material at any time prior to the completion of direct

  examination of the government witness at issue. Jordan, 316 F.3d at 1227 n.17,

  1251 & n.78. The Court strongly encourages the government to disclose Jencks

  Act materials prior to the pretrial hearing or trial at which the witness will be called
                                           10
Case 1:25-cr-00191-LMM-RDC         Document 20      Filed 05/01/25    Page 11 of 21




  to testify. Any agreement between the parties to provide early Jencks Act material

  may be memorialized orally at the pretrial conference or by letter agreement

  between the parties. The government is ORDERED to comply with the Jencks

  Act.

         J.     Names of Unindicted Co-Conspirators:

         Whether or not there is a conspiracy count in the indictment or if the

  government intends to rely on Federal Rule of Evidence 801(d)(2)(E) to introduce

  co-conspirator statements, the government is directed to provide the defendant with

  the names of unindicted co-conspirators known to the government, but not with

  statements made by co-conspirators or with their address or other identifying

  information, unless required by the Jencks Act, Brady and/or Giglio, or Bruton.

         K.     Identification of Witnesses:

         No party is required to provide a list of its witnesses in advance of trial unless

  otherwise compelled by law or ordered by the Court. The Court will entertain a

  motion for a witness list only if it is particularized to the facts of this case.

         L.     Expert Disclosures:

         1.     Duty to Confer.       The parties must confer prior to the pretrial

  conference concerning any anticipated expert testimony that will be presented at

  trial as well as the timing of expert disclosures and be prepared to discuss the
                                            11
Case 1:25-cr-00191-LMM-RDC        Document 20      Filed 05/01/25   Page 12 of 21




  proposed deadlines at the pretrial conference. The government shall disclose to

  defendant prior to the pretrial conference all categories of expert testimony it

  expects to present at the trial and defendant shall be prepared to state at the pretrial

  conference whether there are any anticipated challenges to the categories of expert

  testimony identified by the government that may necessitate a Daubert hearing

  and to identify any areas of expert testimony the defendant intends to present at

  trial. See FED. R. CRIM. P. 16.1.

        2.     Default Expert Witness Disclosure Deadlines.                 Absent any

  anticipated challenge to expert testimony necessitating a Daubert hearing, the

  following timetable governs the deadlines for expert disclosures unless otherwise

  ordered by the Court:

               (a)    if requested by the defendant, the government shall make the

               expert disclosures required by Rule 16(a)(1)(G) no later than fourteen

               days after the case is certified ready for trial;

               (b)    if requested by the government, the defendant shall make the

               disclosures required by Rule 16(b)(1)(C) no later than thirty days

               following the government’s compliance with its disclosure pursuant

               to Rule 16(a)(1)(G) or fourteen days prior to trial, whichever is earlier;

               and
                                           12
Case 1:25-cr-00191-LMM-RDC       Document 20      Filed 05/01/25   Page 13 of 21




              (c)    where the defendant gives notice of intent to present expert

              testimony on the defendant’s mental condition:

                     (i)    if requested by the government under the second bullet

                     point in Rule 16(b)(1)(C)(i), the defendant shall make such

                     expert disclosures required by Rule 16(b)(1)(C) no later than

                     fourteen days after the case is certified ready for trial; and

                     (ii) if requested by defendant, the government shall make the

                     expert disclosures required by Rule 16(a)(1)(G) no later than

                     thirty days following the defendant’s compliance with

                     disclosure pursuant to Rule 16(b)(1)(C) or fourteen days prior

                     to trial, whichever is earlier.

        M.    Bruton Issues:

        The government shall disclose to the defendant and the Court whether it

  anticipates introduction at trial of a co-defendant’s statement that inculpates the

  defendant, within the meaning of Bruton v. United States, 391 U.S. 123 (1968). At

  the pretrial conference, the government shall be prepared to announce whether, if

  both defendants opted to go to trial, they could not be tried jointly since the co-

  defendant’s statements could not be properly redacted to comply with the Supreme

  Court’s directive in Gray v. Maryland, 523 U.S. 185 (1998).
                                          13
Case 1:25-cr-00191-LMM-RDC       Document 20      Filed 05/01/25    Page 14 of 21




        N.     Motions to Sever Defendants Under Fed. R. Crim. P. 14(a) Due to

  Prejudicial Overspill:

        Severance under Federal Rule of Criminal Procedure 14 on the grounds of

  alleged undue prejudice from a joint trial due to “overspill” is warranted only when

  a defendant demonstrates that a joint trial will result in “specific and compelling

  prejudice” to his or her defense. Compelling prejudice occurs when the jury is

  unable, even after proper instruction from the trial court, “to separately appraise the

  evidence as to each defendant and render a fair and impartial verdict.” United

  States v. Liss, 265 F.3d 1220, 1228 (11th Cir. 2001). The trial court is empowered

  to sever defendants or counts after the commencement of the trial under Rule 14 if

  manifest necessity so requires. United States v. Butler, 41 F.3d 1435, 1441

  (11th Cir. 1995). Therefore, any motion for severance on grounds of prejudicial

  overspill should not be filed unless it sets out specific, individualized grounds as

  to why the defendant is unduly prejudiced by a joint trial with others.

        O.     Reserving Right to File Additional or Out-of-Time Motions:

        Motions for an extension of time to file pretrial motions are not granted as a

  matter of right, and instead must be based on good cause shown. Any motion to

  file additional or out-of-time motions must contain a particularized statement of the

  existence of good cause to file such a motion, must identify the specific motion or
                                          14
Case 1:25-cr-00191-LMM-RDC      Document 20     Filed 05/01/25   Page 15 of 21




  motions that may be filed, a statement of the position of opposing counsel, and be

  accompanied by a proposed order which includes appropriate language excluding

  any delay under the Speedy Trial Act, 18 U.S.C. § 3161, et seq.

        P.     Motion to Adopt Motions of Co-Defendants:

        No motion to adopt one or more motions of a co-defendant shall be filed

  unless it is accompanied by a statement specifically demonstrating the standing of

  the adopting party to seek the relief requested in each motion sought to be adopted.

  A motion to adopt shall only seek to adopt a single motion of a co-defendant;

  moving to adopt multiple motions, even of the same co-defendant, requires the

  filing of a separate motion to adopt as to each motion. As to any motion sought to

  be adopted, the adopting defendant must either (1) specifically identify the motion

  sought to be adopted by its docket number in CM/ECF; and (2) include as an

  attachment to the motion to adopt a copy of at least the front page of the motion

  sought to be adopted. The motion must otherwise comply with the requirements

  of Local Criminal Rule 12.1.C, NDGa.          Any motion to adopt not filed in

  compliance with this paragraph shall be denied.

        Q.     Motion for Reciprocal Discovery:

        If the defendant has requested discovery, upon request of the government

  following its compliance with its Rule 16(a)(1)(E) obligations, the defendant is
                                       15
Case 1:25-cr-00191-LMM-RDC       Document 20     Filed 05/01/25   Page 16 of 21




  required to provide discovery materials and information in accordance with Rule 16(b)

  and Local Criminal Rule 16.1. See FED. R. CRIM. P. 16(b), LCrR 16.1, NDGa.

        Subject to the above instructions and rulings:

        (1) Unless otherwise extended by the undersigned or the District Judge to

             whom this case is assigned for trial, the parties shall file with the Clerk

             within fourteen days after arraignment any necessary pretrial motions

             pursuant to Local Criminal Rules 12.1A, B and 16.1 and Local Civil

             Rules 5.1.A, 7, 10 and 11, NDGa.

        (2) Each motion other than a motion to adopt shall contain a

             certification that counsel conferred with opposing counsel

             concerning the subject matter of the motion but was unable to

             reach agreement on the resolution of the                  issue therein.

             LCrR 12.1D, NDGa.

  V.    Procedure at Pretrial Conference:

        A.     Government counsel shall be prepared to discuss:

               1. The circumstances surrounding any arrest of the defendant;

               2. The circumstances surrounding any identifications made of the

                  defendant;

               3. The circumstances surrounding any statements made by the
                                         16
Case 1:25-cr-00191-LMM-RDC         Document 20     Filed 05/01/25   Page 17 of 21




                     defendant to law enforcement or other government agents; and

                4. The circumstances surrounding any searches or seizures that

                     resulted in evidence that the Government intends to use against the

                     defendant.

                5. Whether it intends to introduce any evidence pursuant to Federal

                     Rule of Evidence 404(b).

                6. Whether it intends to introduce any expert testimony.

        B.      Government and Defense Counsel shall be prepared to discuss the

  following:

                1.      The production and review of discovery, including but not

  limited to,

                        (a) issues discussed at counsel’s Rule 16.1 conference;

                        (b) the volume, format, and types of materials produced or to

  be produced in discovery;

                        (c) whether the discovery is protected by passwords or specific

  proprietary software is needed to access the materials;

                        (d) whether discovery contains any materials that are subject to

  privilege review;

                        (e) (if CJA counsel) whether application for funds to employ
                                           17
Case 1:25-cr-00191-LMM-RDC      Document 20      Filed 05/01/25   Page 18 of 21




  paralegal or other services to access and review discovery is anticipated;

                     (f) (if the defendant is in custody) issues related to the

  defendant’s access to and ability to review discovery;

                     (g) whether the government can inform the Court and defense

  counsel that all discovery has been produced, and if not, the reason why not all

  discovery has been produced (e.g., outstanding Rule 17 subpoenas, analysis of

  electronic devices (including the reason why they have not been analyzed), etc.),

  and the time needed to produce all outstanding discovery; and

                     (h) the progress in Defense Counsel’s review of discovery and

  period of time counsel reasonably believes that review can be completed to file all

  necessary pretrial motions.

               2.    Evidentiary and other legal issues they anticipate may arise at

  trial;

               3.    Probability of disposition of the case without trial;

               4.    Problems relating to the scheduling of trial;

               5.    Whether any facts can be stipulated; and

               6.    Whether any time periods established by this Order, the Federal

  Rules of Criminal Procedure, and/or the Local Rules need to be modified, adjusted,

  or extended, and the specific reasons why the time periods need to be modified,
                                         18
Case 1:25-cr-00191-LMM-RDC      Document 20     Filed 05/01/25    Page 19 of 21




  adjusted, or extended despite the exercise of due diligence.

        C.     Evidentiary hearings will be scheduled.

        D.     Where possible, the undersigned will rule orally on any motions that

  have been filed. The rulings will be noted on the docket sheets and the docket of

  the case.

        E.     Failure to respond to a motion after being directed to do so within

  fourteen days thereafter or at such time as set by the Magistrate Judge may be

  considered as indicating there is no opposition to the motion. LR 7.1.B, NDGa;

  LCrR 12.1.B, NDGa.

        F.     Failure by a party to raise defenses or objections or make motions as

  specified in Federal Rule of Criminal Procedure 12(b)(3)(A)-(D) shall constitute a

  waiver thereof, unless good cause for such failure is shown.4

        G.     When a party fails to supplement or perfect a motion within the time

  afforded after having requested or been given an opportunity to supplement or

  perfect said motion, the Court may deem the original motion abandoned or

  withdrawn.


        4
              A motion is not necessary to protect a party’s right to Rule 16
  discovery materials and information so long as the party seeking protection
  complies with the procedure set forth in this Order. See Federal Rule of Criminal
  Procedure 12(b)(3)(E).
                                         19
Case 1:25-cr-00191-LMM-RDC       Document 20      Filed 05/01/25    Page 20 of 21




  VI.   Rescheduling of the Pretrial Conference

        The pretrial conference may be continued only by order of the Court. A

  party seeking to continue a pretrial conference first must confer with all other

  counsel representing parties in this case to determine whether all parties consent to

  the continuance. If all parties consent to the rescheduling of the pretrial conference,

  the party seeking the continuance should then contact the undersigned magistrate

  judge’s Courtroom Deputy Clerk to request to reschedule the pretrial conference,

  and if said request is granted, to set a new date and time for the conference.

        If a party seeking to continue a pretrial conference cannot obtain the consent

  of all parties in this case, a written motion specifying the reasons for the

  continuance must be filed with the Clerk and at least one business day prior to the

  pretrial conference. Any consent continuance or motion to continue the pretrial

  conference shall be accompanied by a proposed order which includes the

  following: (1) a place for the entry of any rescheduled date and time to hold the

  pretrial conference, and (2) the following language for the Court’s consideration:

                 ( ) The delay between the original and rescheduled pretrial
           conferences shall be excluded from Speedy Trial Act
           calculations because the Court finds that the reason for the delay
           was for good cause and the interests of justice in granting the
           continuance outweigh the public’s and the defendant’s rights to
           a speedy trial. 18 U.S.C. § 3161, et seq.

                                          20
Case 1:25-cr-00191-LMM-RDC      Document 20     Filed 05/01/25   Page 21 of 21




                ( ) The delay between the original and rescheduled pretrial
          conferences shall not be excluded for Speedy Trial Act
          purposes. 18 U.S.C. § 3161, et seq.

                  ( ) The Court finds that due to the extensive discovery in
          this case, it was necessary to extend the time for the defendants
          to file pretrial motions, and accordingly, postpone the holding of
          the initial pretrial conference. The Court finds that the interests
          of justice in continuing the pretrial motions deadline and in
          holding the pretrial conference substantially outweigh the
          interests of the public and defendants in the speedy resolution of
          this matter, and thus the Clerk is directed to count as excludable
          any delay occurring in extending the motions deadline and the
          holding of the pretrial conference. 18 U.S.C. § 3161, et seq.

       IT IS SO ORDERED, this the 1st day of May, 2025.



                                  __________________________________
                                  REGINA D. CANNON
                                  UNITED STATES MAGISTRATE JUDGE




                                        21
